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AO 91 (Rev. 02/09) Criminal Complaint

United States District.Court.,

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for the Pe ee on oe \
Western District of New York ( \ ark = 1 2025 )

United States of America

Case No. 25-mj- SOLS

Vv.

Luis Castro Mayancela

Defendant

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of March 26, 2025, in the County of Genesee, in the Western District of New York, the
defendant, an alien, was found in the United States, after previously being removed or deported from the United
States, without prior authorization or approval from the Attorney General of the United States, or the Secretary of
the Department of Homeland Security, in violation of Title 8, United States Code, Sections 1326(a).

This Criminal Complaint is based on these facts:

XI Continued on the attached sheet.

Fereca Wh eeter

Complainant’s signature

Teresa Roeder
Homeland Security Investigations

Department of Homeland Security
Printed name and title

Sworn to before me and signed telephonically.

Date: April _! 2025 WYiclaet | YP ..
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Vy
Mudge ’s signature

HONORABLE MICHAEL J. ROEMER
City and State: Buffalo, New York UNITED STATES MAGISTRATE JUDGE

Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

STATE OF NEW YORK _ )
COUNTY OF MONROE _ ) 85:3
CITY OF ROCHESTER

TERESA M. ROEDER, being duly sworn, deposes and states:

L. Iama Special Agent (SA) with the United States Department of Homeland Security
(“DHS”), Homeland Security Investigations (“HSI”), and have been employed in this capacity
since August 2023. Iam a graduate of the Criminal Investigator Training Program and HSI Special
Agent Training Academy. I am currently assigned to the HSI Office of the Special Agent in
Charge, in Buffalo, New York and have been working in Buffalo since March 2024. As a SA, my
duties are to conduct and coordinate high-level comprehensive investigations involving
individuals, groups, and/or organizations operating at a local, state, national, or international level.
Prior to being employed as a SA with HSI, I was employed as a Deputy Sheriff with the
Northampton County Sheriff's Department in Easton, Pennsylvania for approximately two and a
half years. I have also worked with experienced HSI Special Agents and Task Force Officers, and
I have consulted with law enforcement officers experienced in investigations.

2s As a result of my employment with HSI, my duties also include, but are not limited
to, the investigation and enforcement of Titles 8, 18, 19, 21, and 31 of the United States Code. As
part of my current duties, I am investigating violations of the Immigration and Nationality Act and
violations of the United States Code, particularly Title 8, United States Code, Section 1326 (Re-
entry of Removed Aliens).

Br I am also a federal law enforcement officer within the meaning of Rule 41(a) of the
Federal Rules of Criminal Procedure, that is, an officer of the United States who is empowered by

law to conduct investigations of, and to make arrests for, offenses in violation of the United States
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Code. In connection with my duties and responsibilities, I have received extensive training in
criminal investigations, participated in criminal arrests, executed various warrants, interviewed
individuals involved in different types of illicit activities, and have sworn out affidavits for
warrants.

4. I make this affidavit in support of a criminal complaint charging LUIS CASTRO
MAYANCELA, an alien, born in 2000 in Ecuador, and currently a citizen of Ecuador, with
violating Title 8 United States Code, Section 1326(a)(1) (Re-entry of Removed Aliens).

5. The statements contained in this affidavit are based upon my training and
experience, personal knowledge of this investigation, information provided to me by other law
enforcement officers and civilian personnel involved with this investigation, and a review of
database checks and official records. Because this affidavit is being submitted for the limited
purpose of securing a criminal complaint, I have not included every fact known to me concerning
this investigation. I have set forth only the facts that I believe are necessary to establish probable
cause to believe that LUIS CASTRO MAYANCELA did knowingly violate Title 8 United States

Code, Section 1326(a).

PROBABLE CAUSE

6. On March 26, 2025, HSI, along with Immigration and Customs Enforcement (ICE)
Enforcement and Removal Operations (ERO) Buffalo, NY, conducted surveillance as part of a
targeted enforcement operation on a residence located on Mill Street, in Buffalo, NY. The target
of the surveillance was an illegal alien and who entered the United States unlawfully at a time and
place other than as designated by the Secretary of Homeland Security of the United States of

America.
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7. A dark blue Chevy Silverado arrived at the Mill Street address. Two Hispanic males
exited the target residence and entered the vehicle. ERO initiated mobile surveillance and followed
the Chevy Silverado when it departed the residence. At approximately 1120 hours, SA Roeder and
Border Patrol Officers activated their emergency lights and conducted an investigative vehicle stop
on the blue Chevy Silverado near Ford Road, in Elba, NY.

8. Four people were encountered during the vehicle stop of the blue Chevy Silverado,
which included LUIS CASTRO MAYANCELA. Initial record checks were conducted on scene
and the subject was determined to be illegally present in the United States. Record checks further
revealed that LUIS CASTRO-MAYANCELA was ordered removed from the United States on or
about December 13, 2019, by an Immigration Judge, and that on December 30, 2019, LUIS
CASTRO-MAYANCELA was removed from the United States to Ecuador.

9, LUIS CASTRO MAYANCELA were taken into immigration custody and turned
over to ERO for processing at the Buffalo Federal Detention Facility in Batavia, New York.

10. | EROs entered LUIS CASTRO MAYANCELA’s fingerprints into the Interagency
Fingerprint Identification System (“IAFIS”) database to verify his identity and any immigration
history in the United States. This scan resulted in an identical fingerprint match to an FBI and
Alien File number.

11. Immigration record checks regarding this Alien File number revealed that a warrant
of removal/deportation was issued for LUIS CASTRO MAYANCELA on December 18, 2019,
after being apprehended near Santo, Texas, after illegally entering the United States. On December
18, 2019, LUIS CASTRO MAYANCELA signed indicating that he was served a warning to aliens
being ordered removed or deported. CASTRO MAYANCELA was removed to Ecuador, departing

from Alexandria International Airport in Louisiana, on December 30, 2019.

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12. Additionally, there is no evidence that LUIS CASTRO MAYANCELA had any
authorization or approval from the Attorney General of the United States, or the Secretary of the
Department of Homeland Security, to re-enter the United States after his last removal.

13. | WHEREFORE, I respectfully submit that the foregoing facts establish probable
cause to believe that on or about March 26, 2025, LUIS CASTRO MAYANCELA, an alien, was
found in the United States after having been previously deported or removed from the United
States, without the requisite permission from the Attorney General of the United States or the
Secretary for the Department of Homeland Security, in violation of Title 8, United States Code

Section 1326(a).

Fereca Wh erler

TERESA M. ROEDER
Special Agent
Homeland Security Investigations

Affidavit submitted electronically by
email in .pdf format. Oath administered
and contents and signature attested to me
as true and accurate telephonically
pursuant to Fed. R. Crim. P. 4.1 and 4(d)
on this (%" day of April 2025.

HON. MICHAEL J RAEMER
UNITED STATES MAGISTRATE JUDGE

